Case 0:20-cv-61241-RAR Document 96 Entered on FLSD Docket 02/01/2022 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 0:20-cv-61241-RUIZ

  APRIL HICKS,

          Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  _________________________________/

         ORDER ADOPTING FINDINGS OF FACT AND CONCLUSIONS OF LAW

          THIS MATTER came before the Court on January 24, 25, and 26, 2022, for a bench trial.

  After careful review and consideration of all of the facts and evidence presented during the trial,

  it is hereby,

          ORDERED AND ADJUDGED that the Court adopts the findings of fact and conclusions

  of law pertaining to liability announced on the record on January 26, 2022, at the conclusion of

  the bench trial, and rules in favor of the Defendant, United States of America. The Court defers

  entering a final judgment until the Parties notify the Court whether a trial on damages relating to

  Defendant’s Counterclaim is necessary.

          DONE AND ORDERED in Miami, Florida on January 31, 2022.



                                               _________________________________
                                               PAUL C. HUCK
                                               UNITED STATES DISTRICT JUDGE

  Copies provided to: Counsel of Record
